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                                                     1   Kresta Nora Daly, SBN 199689
                                                         BARTH TOZER & DALY LLP
                                                     2   431 "I" Street, Suite 201
                                                         Sacramento, California 95814
                                                     3   Telephone: (916) 440-8600
                                                         Facsimile: (916) 440-9610
                                                     4   Email: kdaly@btdlaw.net

                                                     5   Attorneys for Defendant
                                                         ARICELA VILLA
                                                     6

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                                                     8                                 IN THE UNITED STATES DISTRICT COURT

                                                     9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                    10

                                                    11   UNITED STATES OF AMERICA,                            Case No. 2:07-CR-515-07 WBS

                                                    12                    Plaintiff,                          STIPULATION AND
B ARTH T OZER & D ALY LLP




                                                                                                              [PROPOSED] ORDER
                        S ACRAMENTO , C ALIFORNIA




                                                    13             v.
                            A TTORNEYS A T L AW




                                                    14   ARICELA VILLA,                                       Date: November 18, 2013
                                                                                                              Time: 9:30 a.m.
                                                    15                    Defendant.                          Judge: Honorable William B. Schubb

                                                    16

                                                    17             It is hereby stipulated and agreed to between the United States of America through

                                                    18   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                    19   Kresta Nora Daly, that the sentencing set for November 18, 2013 be vacated and that a new

                                                    20   sentencing date be set for January 13, 2014 at 9:30 a.m.

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                                                         STIPULATION AND [PROPOSED] ORDER                                                [Case No. 2:07-CR-00515-WBS]
                                                           Case 2:07-cr-00515-WBS Document 374 Filed 11/15/13 Page 2 of 2


                                                     1
                                                         Dated: November 14, 2013.          Respectfully submitted,
                                                     2
                                                                                            BARTH TOZER & DALY LLP
                                                     3

                                                     4                                      By    /s/ Kresta Nora Daly
                                                                                                  KRESTA NORA DALY
                                                     5                                      Attorneys for ARICELA VILLA

                                                     6

                                                     7   Dated: November 14, 2013.          By     /s/ Kresta Nora Daly
                                                                                                   MICHAEL BECKWITH
                                                     8                                             Assistant United States Attorney

                                                     9
                                                                                                 ORDER
                                                    10
                                                                          IT IS SO ORDERED.
                                                    11
                                                         Dated: November 15, 2013
                                                    12
B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




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                            A TTORNEYS A T L AW




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                                                         STIPULATION AND [PROPOSED] ORDER                                             [Case No. 2:07-CR-00515-WBS]
